                       UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION


 In the Matter of:


 Alabama Partners, LLC                          }    Case No. 17-03469-TOM-11
       Debtor(s)                                }
                                                }
                                                }    Jointly Administered




                   NOTICE AND ORDER GRANTING
  MOTION TO RESTRICT ACCESS AND ALLOW REDACTION OF INFORMATION


         Notice is hereby given that on March 27, 2018, Unifi Equipment Finance, Inc., filed a
Motion to Redact and Restrict Public Access to Exhibit A in to their Motion for Relief From
Stay (Docket Entry #223). The Motion seeks immediate relief to protect personal information
that is contained or included in the attachment. Movant asserts that they have included or
disclosed in the attachment “personal data identifiers” pursuant to 11 U.S.C. § 107 and as further
defined in the Report of the Judicial Conference Committee on Court Administration and Case
Management on Privacy and Public Access to Electronic Case Files.

       It appears to the Court that the Movant’s Motion is due to be GRANTED.

        It is therefore ORDERED, ADJUDGED and DECREED the Motion to Redact and
Restrict Public Access to Exhibit A of the Motion for Relief from Stay (Docket Entry #223) shall
be and hereby is GRANTED and the Clerk’s Office is directed to immediately STRIKE Exhibit
"A". Plaintiff' is directed to file the redacted Exhibit A to the Response as a separate docket
event.

Dated: March 27, 2018

                                                            /s/ Tamara O. Mitchell
                                                            TAMARA O. MITCHELL
                                                            United States Bankruptcy Judge
klt




Case 17-03469-TOM7 Doc 223-3 Filed 03/26/18 Entered 03/26/18 16:25:51                        Desc
                 Order Granting Motion to Redact Page 1 of 1
